
Granted. See Order Attached.
Attachment
SUPREME COURT OF LOUISIANA
No. 2016-KP-1708
STATE OF LOUISIANA
VERSUS
CATINA CURLEY
On Writ of Certiorari and/or Review, Criminal District Court, Parish of Orleans, No. 491-907, Division K; Court of Appeal, Fourth Circuit, No. 2016-K-0604.
And, whereas, the Court has this date, pursuant to Article 5, Section 5, of the Constitution of Louisiana, made and issued the following order, to wit-"It is ordered that the writ of review issue; that the District Court and the Court of Appeal send up the record in Duplicate of the case; and that counsel for all parties be notified."
Now, therefore, the said District Court and the Court of Appeal is hereby commanded, in the name of the State of Louisiana and of this Honorable Court, to send up forthwith to this Court, in accordance with Supreme Court Rule 1, at the City of New Orleans, the record in duplicate of the above-entitled case.
Witness the Honorable Justices of the Supreme Court of the State of Louisiana, on this 23RD day of February, in the year of our Lord, Two Thousand-Seventeen.
/s/
John Tarlton Olivier
Clerk of Court
/s/
Deputy Clerk of Court
